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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-60907-CIV-MORENO

   FEDERAL TRADE COMMISSION, et al.,

             Plaintiffs,

   v.

   JEREMY LEE MARCUS, et al.,

         Defendants.
   ________________________________/

         RECEIVER’S MOTION TO COMPEL PNC BANK, N.A. TO COMPLY WITH
             SUBPOENAS, FOR SANCTIONS, AND FOR RELATED RELIEF

        Jonathan E. Perlman, the Court-appointed Receiver (“Receiver”) of the Receivership

   Entities,1 moves under Fed. R. Civ. P. 45(g), 37(a), 30(b)(6), S.D. Fla. L.R. 26.1(g), and the

   Court’s inherent authority to compel PNC Bank, N.A. (“PNC Bank” or “PNC”) to comply with

   subpoenas issued by the Receiver, to impose appropriate sanctions against PNC, and for related

   relief.


   1
      Receivership Entities are Financial Freedom National, Inc. f/k/a Institute for Financial
   Freedom, Inc. and Marine Career Institute Sea Frontiers, Inc. d/b/a 321 Loans, Instahelp
   America, Inc., Helping America Group, United Financial Support, Breeze Financial Solutions,
   321Financial Education, Credit Health Plan, Credit Specialists of America, American Advocacy
   Alliance, and Associated Administrative Services, 321Loans, Inc., f/k/a 321 Loans, Inc. d/b/a
   321Financial, Inc., Instahelp America, Inc. f/k/a Helping America Team, Inc. d/b/a Helping
   America Group, Breeze Financial Solutions, Inc. d/b/a Credit Health Plan and Credit
   Maximizing Program, US Legal Club, LLC, Active Debt Solutions, LLC f/k/a Active Debt
   Solutions, Inc. d/b/a Guardian Legal Center, Guardian LG, LLC d/b/a Guardian Legal Group,
   American Credit Security, LLC f/k/a America Credit Shield, LLC, Paralegal Support Group LLC
   f/k/a Paralegal Support LLC, Associated Administrative Services, LLC d/b/a Jobfax, Cockburn
   & Associate LLC, JLMJP Pompano, LLC, Halfpay International, LLC, Halfpay NV, LLC, HP
   Properties Group, Inc., HP Media, Inc., Omni Management Partners, LLC, Nantucket Cove of
   Illinois, LLC, Discount Marketing USA, S.A., Viking Management Services, LLC, White Light
   Media LLC, Blue42, LLC, National Arms, LLC, and 110 Glouchester St., LLC, and their
   divisions, subsidiaries, affiliates, predecessors, successors, and assigns.
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                                  PRELIMINARY STATEMENT

      1. This Motion presents a veritable textbook case of the things a corporate entity should not

   do in response to a federal court subpoena. The Receiver issued a subpoena duces tecum to PNC

   seeking documents relevant to the Receiver’s investigation into potential assets of the

   receivership estate. PNC responded without objection by producing a limited category of

   documents together with a letter stating that “all documents requested” had been produced.

   Given the dearth of responsive documents PNC produced, the Receiver sought to confirm

   whether PNC had additional responsive documents; but the Receiver was stonewalled. PNC’s

   outside counsel advised that PNC would belatedly object to producing certain documents if they

   existed, but PNC would not actually say whether any more documents existed, had been

   searched for, or had been withheld. In response to PNC’s astonishing position, the Receiver

   served a Rule 30(b)(6) subpoena on PNC requiring PNC to designate a witness to testify as to its

   efforts to comply with the initial subpoena for documents. PNC then responded by taking more

   than month to locate an employee who would be the bank’s designee. Then, after that stall tactic,

   PNC sent the Receiver’s counsel on a wild goose chase to depose a designee that knew next to

   nothing about PNC’s efforts to comply with the subpoena; in truth, the only useful information

   PNC’s designee provided was confirmation that PNC had utterly failed to prepare her as its Rule

   30(b)(6) witness, and that another employee in a different city, already identified by PNC, is

   actually the person with the information the Receiver seeks. Thus, PNC spent weeks surveying

   its employees for potential witnesses and designated the person with the least useful information

   possible, intentionally designating a witness with no knowledge of the designated topics.

      2. To paraphrase a famous Miamian, Dave Barry: the Receiver is not making this up! There

   is no conceivable good cause or excuse for PNC’s complete failure to comply with its most basic



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   obligations under the federal rules. As set forth in detail below, the Court should compel PNC to

   comply with the subpoenas without further delay, and impose appropriate sanctions, as requested

   below, for its egregious conduct.

                                           BACKGROUND

      3. Mr. Perlman is the Permanent Receiver over the Receivership Entities and “their

   affiliates, subsidiaries, divisions, or sales or customer service operations, wherever located, with

   the full power of an equity receiver.” [ECF No. 21]. The Court’s Order appointing the Receiver

   “directed and authorized” the Receiver, inter alia, to “Issue subpoenas to obtain documents and

   records pertaining to the receivership, and conduct discovery in this action on behalf of the

   receivership estate.” Id. p.20. Further, the Court’s Order requires any “Person served with a copy

   of this Order”—specifically including “banks”—to “fully cooperate with and assist the

   Receiver,” including by “providing any information to the Receiver that the Receiver deems

   necessary to exercising the authority and discharging the responsibilities of the Receiver under

   this Order.” Id. p.21. The Receiver served a certified copy of the Court’s Order containing the

   foregoing directives to PNC shortly after the Receiver’s appointment in this case.

          A.      The Receiver’s Subpoena Duces Tecum to PNC.

      4. On May 1, 2018, the Receiver, through counsel, issued a subpoena duces tecum to PNC

   to obtain documents pertaining to the receivership and potential assets (namely, potential causes

   of action) of the receivership. A correct copy of the subpoena duces tecum is Exhibit 1 to this

   Motion.

      5. The subpoena seeks 36 categories of documents related to Receivership Entities and the

   individuals that controlled them (defined in the subpoena as “Relevant Parties”):

         (1)   All documents and communications relating to account opening documents
               referencing any of the Relevant Parties.


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           (2)   All documents and Computer Generated Reports relating to any of the
                 Relevant Parties.2

           (3)   All communications between you and any third party concerning any of the
                 Relevant Parties.

           (4)   All communications between you and any of the Relevant Parties.

           (5)   All documents and correspondence relating to any due diligence relating to
                 any of the Relevant Parties.

           (6)   All documents and communications relating to any account of any of the
                 Relevant Parties.

           (7)   Documents identifying the name of each automated account monitoring
                 system, such as Carreker Fraud Link or SAS, and documents identifying the
                 name of each manual account monitoring systems, such as uncollected
                 funds reports or large account balance change reports.

           (8)   Any and all fraud alerts, ALM alerts, or Bank Secrecy Act alerts from any
                 automated or manual account monitoring system for accounts titled in the
                 name of or held by any of the Relevant Parties.

           (9)   Any and all documents regarding each of your automated or manual account
                 monitoring systems for the years 2013 through 2017.

           (10) Any user manuals and policies and procedures for each of your automated
                or manual account monitoring systems for the years 2013 through 2017.

           (11) All reports and other documents generated from your Large Cash Reporting
                System concerning any of the Relevant Parties.

           (12) All Currency Transaction Reports concerning any of the Relevant Parties.

           (13) All reports and other documents reflecting customer contact history and/or
                account contact history concerning any of the Relevant Parties.

           (14) All reports and other documents concerning any of the Relevant Parties
                generated from your Customer Relationship Inquiry Service System.

           (15) All reports and other documents generated from BlueZone concerning any
                of the Relevant Parties.

           (16) All reports and other documents generated from Genesis concerning any of
                the Relevant Parties.


   2
       “Computer Generated Reports” is a defined term in the subpoena.

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        (17) Manuals and any other documents identifying your policies and procedures
             concerning identification and/or reporting of unusual, suspicious, improper
             or illegal activity in accounts during the relevant time period.

        (18) Manuals and any other documents identifying your account opening policies
             and procedures in effect during the relevant time period.

        (19) Any and all reports, excluding SARs, relating to your automated and manual
             account monitoring systems referencing any of the Relevant Parties.

        (20) Any and all documents reflecting your review of any transactions in any
             accounts of any of the Relevant Parties.

        (21) Your entire investigative file excluding any SARs, concerning any of the
             Relevant Parties or any accounts of the Relevant Parties.

        (22) Any and all documents relating to the disposition or resolution of alerts
             generated by your automated or manual account monitoring systems relating
             to any of the Relevant Parties.

        (23) All correspondence, memoranda, facsimiles, emails, text messages, or any
             other form of written communication between any of the relevant parties
             and any officer, director, employee, agent or account officer of yours with
             respect to the banking relationship maintained by you for any of the
             Relevant Parties.

        (24) All documents relating to original account files maintained internally by
             employees and/or account officers of you with respect to any and all
             accounts held by or on behalf of any of the Relevant Parties.

        (25) All correspondence between you and any other financial institution relating
             to any of the Relevant Parties.

        (26) All communications between any branch employee and your investigative,
             compliance, or comparable departments concerning any of the Relevant
             Parties.

        (27) Correspondence and communications between you and any law enforcement
             or regulatory agency relating to any of the Relevant Parties, excluding
             SARs.

        (28) All internal emails and text messages relating to any of the Relevant Parties.

        (29) All documents reflecting the codes where their corresponding definitions
             that are reflected in the Computer Generated Reports.

        (30) All documents setting forth the parameters (i.e., dollar amount, activity
             level, type of activity) which would cause a customer to appear on

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               Computer Generated Reports during the time period 2013 through 2017.

        (31) All documents relating to notification by you to another financial institution
             reporting returned items for, among other reasons, uncollected/insufficient
             funds as relates to any of the Relevant Parties.

        (32) All documents relating to notification by another financial institution to your
             reporting returned items for, among other reasons, uncollected/insufficient
             funds as relates to any of the Relevant Parties.

        (33) All correspondence between you and any other financial institution
             concerning any of the Relevant Parties.

        (34) All hardcopies, originals and computer data documents and records
             maintained by you relating to the above requests.

        (35) All hardcopies, originals and computer data documents and records
             maintained by third parties relating to the above requests.

        (36) All documents, including data, information, files, records, files, manuals,
             supplies, computer data, information, materials and other materials that have
             been created, used or obtained by you regarding, relating to or for the
             benefit of the relevant parties, including all financial statements, customer
             sales and marketing information, customer account records, proprietary
             interests, copyrights, patents, trademarks and other intellectual property
             rights (including website rights), training and operations materials and
             memoranda, personal records, pricing information, and financial
             information and trade secrets concerning or relating to the financial
             condition, business, accounts, customers, employees and affairs of any of
             the relevant parties (or any related entity or affiliate thereof) not already
             requested herein.

      6. On May 15, 2018, PNC responded to the subpoena. PNC did not object to any of the

   document requests or any other aspect of the subpoena, and instead produced various signature

   cards and account statements, along with a letter from a PNC Records Custodian, Cheryl Basko,

   which stated: “To the best of the knowledge, information and belief of PNC Bank, Enclosed are

   all documents requested.” (emphasis added). Nothing in PNC’s correspondence or production

   referenced any of the categories of documents reproduced above.

          B.      The Receiver’s Subpoena for Deposition under Fed. R. Civ. P. 30(b)(6)

      7. Because PNC produced so few responsive documents, the Receiver was convinced that


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   PNC had not fully complied with the subpoena. To address that concern, the Receiver first

   attempted to confer informally with PNC and then served, on November 8, 2018, a Rule 30(b)(6)

   subpoena for deposition of the PNC representative(s) concerning (a) PNC’s efforts to comply

   with the document subpoena and (b) the documents that PNC produced. After serving the

   subpoena for deposition on PNC, the Receiver was contacted by PNC’s in-house Senior Counsel,

   Joel B. Gold, who advised that PNC would investigate whether it had additional responsive

   documents. Mr. Gold also advised that two searches were ongoing with respect to the subpoena

   and that a deposition might involve two witnesses. This email chain is attached as Exhibit 2 to

   this Motion.

      8. On November 28, 2018 (the day before the deposition was scheduled to occur), PNC

   (through Mr. Gold) provided by email “information meant to augment the bank’s response” to

   the original subpoena duces tecum served in May 2018. The new information consisted of a list

   of entities named in the subpoena duces tecum and a statement as to whether they had been PNC

   accountholders. PNC continued to ignore the specific categories of documents sought in the

   subpoena reproduced above. The Receiver responded that the deposition would go forward, but

   offered to reschedule the deposition if necessary to accommodate the “appropriate PNC

   representative.” Id. PNC, through Mr. Gold, requested additional time and also additional

   information to identify the correct PNC witness; the Receiver agreed to reschedule the deposition

   and supplied the requested additional information. PNC, again through Mr. Gold, responded on

   November 30, 2018 by advising that “if it comes to a deposition, the employees are located in

   Pittsburgh and Cleveland.” Id. Mr. Gold also advised that PNC would be engaging outside

   counsel: this was nearly seven months after the documents subpoena was served on PNC.

      9. On December 5, 2018, Receiver’s counsel spoke by phone with PNC’s outside counsel,



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   Jason Bowyer, Esq. of McGuire Woods LLP. Attorney Bowyer advised that he would consult

   with PNC to determine whether it had additional documents to produce. After two more weeks,

   however, PNC had provided no new information to the Receiver despite multiple follow-up

   emails. So, on December 19, 2018, the Receiver’s counsel notified PNC that the deposition

   would be re-noticed for early January in Pittsburgh, i.e., one of the two places where PNC said a

   knowledgeable PNC employee was located. PNC’s outside counsel responded that he was still

   trying to “determine who, if anyone, is the most appropriate person to depose and where that

   would take place.” Upon hearing that PNC still did not know “who, if anyone” was the

   appropriate witness, the Receiver advised that the deposition would be set for January 15,

   2019—more than two months after the deposition subpoena was served—in South Florida, the

   location of the PNC branch that maintained the Receivership Entities’ accounts. This email chain

   is attached as Exhibit 3 to this Motion.

      10. On January 11, 2019 (four days before the deposition the Receiver had set more than

   three weeks earlier), PNC’s counsel contacted Receiver’s counsel to try and resolve the subpoena

   duces tecum without a deposition. Essentially, PNC’s counsel advised that PNC had conducted

   an investigation of the Receivership Entities’ accounts and that PNC was concerned that its

   production of any documents related to this investigation would violate the Bank Secrecy Act;

   yet the bank’s attorney could not say in January 2019 whether any such documents actually

   existed or had been held back from PNC’s document production. The Receiver responded that

   the deposition would proceed. A correct copy of this email chain is attached as Exhibit 4.

      11. On January 14, 2019 (the day before the deposition which had been set a month earlier),

   PNC’s counsel advised that the bank’s designee was “located either in Pittsburgh or

   Cleveland”—thus, PNC delayed nearly a month while it looked for the appropriate witness, but



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   then apparently settled on the same two witnesses PNC’s in-house counsel had already identified

   in late-November 2018—more than a six weeks earlier. PNC also requested that the Receiver

   again reschedule the deposition so that the PNC witness would not have to travel to the

   deposition location (i.e., to South Florida in mid-January from Pittsburgh or Cleveland, which

   were in the midst of a Polar Vortex at the time). As a courtesy and to accommodate PNC’s

   employee, the Receiver agreed. Id.

      12. Upon the Receiver agreeing to reschedule the deposition to February 1, 2019, PNC

   advised that its designated witness would be produced in Cleveland. PNC’s attorney accepted

   service of a subpoena under Rule 30(b)(6) (identical to the Receiver’s prior deposition subpoena

   to PNC except for the date and location) designating the following topics: (a) the efforts that

   PNC undertook to comply with the subpoena duces tecum previously served to PNC; and (b) the

   documents of PNC that are responsive to the subpoena. A correct copy of the operative subpoena

   for deposition is attached as Exhibit 5 to this Motion.

          C.      The PNC Corporate Representative Deposition

      13. On January 31, 2019—the same day that the Receiver’s counsel was scheduled to travel

   from Florida to Cleveland to conduct the deposition the following morning, on February 1—the

   Receiver was contacted by another PNC attorney, Branden Moore, Esq. of McGuire Woods, who

   advised that PNC’s designated witness would have limited information about the designated

   topics, and requested that the Receiver not “beat up” the witness in response to her lack of

   knowledge. At the February 1 deposition, PNC produced Ms. Basko, the same PNC Records

   Custodian that had sent PNC’s production to the Receiver. Excerpts from the transcript of Ms.

   Basko’s deposition are attached as Exhibit 6.

      14. At the deposition, it quickly became clear that Ms. Basko knew next to nothing about the



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    topics for which PNC had designated her to testify—“the efforts that PNC undertook to comply

    with the subpoena duces tecum previously served to PNC” and “the documents of PNC that are

    responsive to the subpoena.” Instead, Ms. Basko explained that, as a Records Custodian, she

    only has access to limited categories of documents: (i) bank statements, (ii) checks, (iii) deposits,

    (iv) signature cards, (v) loan documents, and (vi) credit card statements. “[A]nything else we

    [PNC Records Custodians] have to order from the appropriate department. We don’t have access

    to all bank documents.”3 Ms. Basko’s deposition testimony confirms that she lacked access to the

    vast majority of documents sought in the Receiver’s subpoena duces tecum, could not say what

    department within PNC had access to these documents, did not know where or how the

    documents might be stored, and did not know what types of documents might exist with respect

    to most of the categories of documents requested. In other words, despite taking over two months

    to designate its Rule 30(b)(6) designee, PNC produced a witness that affirmatively lacked the

    knowledge required of the designated witness.

          15. Ms. Basko further testified that she made no attempt to search for responsive documents

    that she, as a Records Custodian, could not access. Instead, because the subpoena mostly sought

    documents that she could not access, Ms. Basko referred the entire subpoena to PNC’s “legal

    department”—which is located in Pittsburgh, not Cleveland.4 The following excerpts summarize

    Ms. Basko’s testimony on this point:5

            A. I contacted the legal department because of, I don’t know what some of this
            stuff is, and I asked them to respond.
            Q. Respond to you?
            A. No.
            Q. Respond –
    3
        Basko Tr. p.19:20-23.
    4
        Id. pp.34-35.
    5
        Id. pp.66:23 to 110:9.

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         A. They don’t respond to us.
         Q. Okay. You asked the legal department to respond to the subpoena?
         A. Um-hmm.
                                                  ***
         Q. Is it fair to -- is it fair to characterize the communication [to the legal
         department] as -- and again, I’m just trying to understand the purpose of the
         communication -- as; I have received this subpoena. You guys need to handle it?
         Was that the essence of the communication?
         A. Yes.
                                                  ***
         Q. Was your expectation that the legal department -- how did you expect the legal
         department to respond, if at all, to your --
         A. If there were any relevant documents, they would have provided them. I
         wouldn’t know what they provide, they don’t tell us.
         Q. And that was the purpose of the communication, for them to provide relevant
         documents that you didn’t have access to?
         A. Yes.
                                                  ***
         Q. And again, I’m gathering that the tenor of the conversation with the legal
         department was; You guys need to find out whether there are documents
         responsive to this that I don’t have access to. Is that accurate?
         A. Yes.
                                                  ***
         Q: … This is [document request number] 19. “Any and all reports, excluding
         SARs, relating to your automated and manual account monitoring systems
         referencing any of the Relevant Parties.” Is it your testimony that you referred this
         to legal with the expectation that if there were responsive documents they would
         deal with it?
         A. That is correct.
                                                  ***
         Q. And then, number 21 asks for your entire investigative files, excluding any
         SARs, concerning any of the Relevant Parties or any accounts of the Relevant
         Parties. Did you do anything to search for those documents?
         A. I did not.
         Q. Did you reach out to anyone within the bank to ask them to search for those
         documents?
         A. Legal department.
                                                  ***
         Q. Under what circumstances do you normally reach out to the legal department
         for help in responding to a subpoena? There are usual circumstances where this
         happens a lot that you might refer to the legal department.


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         A. If there are documents or requests that we do not have access to, we refer it to
         the legal department.
         Q. As a matter of course, any time you don’t have access to documents you would
         refer that to the legal department?
         A. Um-hmm.
         Q. Any other departments? I think you mentioned other departments you might --
         A. Yeah. I would do it if I do not know where those documents would be or how
         to get them.
         Q. You would go to legal?
         A. I would.
                                                 ***
         Q. Let’s look at number 22. “Any and all documents relating to the disposition or
         resolution of alerts generated by your automated or manual account monitoring
         systems relating to any of the Relevant Parties.” What, if anything, did you do to
         search for those documents?
         A. Referred it to our legal department.
         Q. With the expectation that they would undertake that search?
         A. That is correct.
         Q. And you’ve testified a number of times that you referred requests to the legal
         department, correct?
         A. Um-hmm.
         Q. And in each instance, it was with the expectation that the legal department
         would undertake to search for those documents that you did not have access to?
         A. That's correct.
                                                 ***
         Q. And as your lawyer said, each time you referred -- is it fair for me to assume
         that each time you referred something to the legal department, it was with the
         understanding, purpose, expectation that they were going to search for those
         documents?
         A. Yes, that’s correct.
                                                 ***
         Q. Okay. Did you ask the legal department anything other than to search for these
         documents?
         [Bank’s counsel]: Objection. Don’t answer that.
         THE WITNESS: Okay.
         Q. Did you ask for any legal advice from the legal department, in your view?
         A. No.

       16. To summarize: the Receiver issued a subpoena duces tecum in May 2018 seeking

    numerous categories of documents (beyond account statements and signature cards). PNC did


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    not object in any way, and instead produced only account statements and signature cards,

    together with a letter stating that “all documents requested” had been produced. When the

    Receiver sought to confirm whether PNC had additional responsive documents, PNC’s outside

    counsel then responded that PNC would object to producing certain documents if they existed,

    but PNC would not confirm whether such documents did exist, had been searched for, or had

    been withheld. When the Receiver sought to depose PNC’s Rule 30(b)(6) designee regarding

    PNC’s efforts to comply with the subpoena, PNC took over a month to investigate “who, if

    anyone,” would be the appropriate witness before designating a witness who knew next to

    nothing about PNC’s efforts to comply with the subpoena, except that the entire subpoena had

    been referred to Pittsburgh. Thus, PNC apparently surveyed its employees for potential designees

    and selected an employee with the least information about the designated topics, intentionally

    choosing not to designate a witness with the knowledge sought, who apparently is located in

    Pittsburgh.

                     RELIEF REQUESTED AND MEMORANDUM OF LAW

           A. The Court should sanction PNC for failing to produce an appropriate, prepared
              Rule 30(b)(6) representative, and should compel PNC to produce a properly-
              prepared witness at a location in South Florida convenient to the Receiver.

       A corporation served with a Rule 30(b)(6) subpoena “must produce one or more witnesses

    who can testify about the corporation’s knowledge of the noticed topics.” QBE Ins. Corp. v.

    Jorda Enters., Inc., 277 F.R.D. 676, 688 (S.D. Fla. 2012). The “corporation must make a

    conscientious good-faith endeavor to designate the persons having knowledge of the matters

    sought and to prepare those persons in order that they can answer fully, completely, unevasively,

    the questions posed as to the relevant subject matters.” In re Brican Am. LLC Equip. Lease Litig.,




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    No. 10-MD-02183, 2013 WL 5519969, at *3 (S.D. Fla. Oct. 1, 2013), aff’d sub nom., In re:

    Brican Am. LLC, No. 10-MD-02183-PAS, 2013 WL 12092311 (S.D. Fla. Nov. 15, 2013).

       A fundamental purpose of Rule 30(b)(6) is “to avoid the bandying by corporations where

    individual officers or employees disclaim knowledge of facts clearly known to the corporation,”

    and “curb any temptation by the corporation to shunt a discovering party from ‘pillar to post’ by

    presenting deponents who each disclaim knowledge of facts known to someone in the

    corporation.” QBE, 277 F.R.D. at 688. Thus, a corporation’s “duty to prepare a Rule 30(b)(6)

    witness goes beyond matters personally known to the designee or to matters in which the

    designated witness was personally involved” and “extends to matters reasonably known to the

    responding party.” Id. “In other words, a corporation is expected to create an appropriate witness

    or witnesses from information reasonably available to it if necessary,” and therefore “it must

    perform a reasonable inquiry for information that is reasonably available to it.” Id.

       Rule 30(b)(6) “provides for a variety of sanctions for a party’s failure to comply with

    its Rule 30(b)(6) obligations, ranging from the imposition of costs to preclusion of testimony and

    even entry of default.” Id.; Brican Am., 2013 WL 5519969, at *5 (“A district court has broad

    discretion to impose sanctions” under Rule 37 and inherent powers to remedy violations of Rule

    30(b)(6)). The corporation’s failure to produce an appropriate witness “can be deemed a

    nonappearance justifying the imposition of sanctions,” because a witness that is unable to give

    useful information “is ‘no more present for the deposition than would be a deponent who

    physically appears for the deposition but sleeps through it.’” QBE, 277 F.R.D. at 690

    (citing Black Horse Lane Assoc., L.P. v. Dow Chem. Corp., 228 F.3d 275, 305 (3d Cir. 2000)).

       In this case, PNC has flouted its obligations under Rule 30(b)(6). Producing Ms. Basko to

    testify that the subpoena duces tecum was handled by some other, unknown PNC employee is



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    exactly what Rule 30(b)(6) forbids; the rule’s fundamental purpose is prevent a corporation from

    producing a witness who “disclaim[s] knowledge of facts clearly known to the corporation.”

    QBE, 277 F.R.D. at 688. PNC’s decision to produce Ms. Basko merely to testify that she referred

    the Receiver’s subpoena to Pittsburgh violated PNC’s duty to “create an appropriate witness or

    witnesses from information reasonably available to” it. QBE, 277 F.R.D. at 689; Brican, 2013

    WL 12092311 (“a corporation with no current knowledgeable employees must prepare its

    designees by having them review available materials, such as fact witness deposition testimony,

    exhibits to depositions, documents produced in discovery, materials in former employees’ files

    and, if necessary, interviews of former employees or others with knowledge.”). Indeed, instead

    of producing an appropriately-educated witness, PNC apparently selected among its potential

    witnesses the employee that knows the least about PNC’s efforts to comply with the subpoena.

       Based on the foregoing, the Receiver requests the Court order PNC to produce a new Rule

    30(b)(6) witness to testify with respect to the topics designated in the subpoena. QBE, 277

    F.R.D. at 688–91 (“If it becomes apparent during the deposition that the designee is unable to

    adequately respond to relevant questions on listed subjects, then the responding corporation has a

    duty to timely designate additional, supplemental witnesses as substitute deponents.”). Further,

    as a sanction, the Court should order PNC to pay the fees and costs that the receivership estate

    incurred on PNC’s wild goose chase to Cleveland, and order PNC to pay the additional fees and

    costs that the receivership estate will incur taking the second deposition necessitated solely by

    PNC’s failure to comply with its obligations under the rules. The Court should also order PNC to

    produce its new witness at a location of the Receiver’s choosing in South Florida, where the

    Receiver and his counsel are located, where the PNC branch bank that maintained the Receiver

    Entities’ and Jeremy Marcus’ accounts is located, and where PNC routinely conducts substantial



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    business and maintains its regional headquarters. See Brican Am. LLC, No. 10-MD-02183, 2013

    WL 5519969, at *12 (discussing that district court has “broad discretion” to remedy discovery

    violations).

              B. The Court should order PNC to produce all documents responsive to the
                 subpoena duces tecum without further delay, order that all of PNC’s belated,
                 “boilerplate” objections to the subpoena duces tecum are waived, and order that
                 the attorney-client privilege is not a basis to withhold the information sought
                 merely because the subpoena was referred to PNC’s “legal department.”

          In addition, the Court should order PNC to produce all documents responsive to the subpoena

    duces tecum in advance of the second Rule 30(b)(6) deposition. In connection with this order, the

    Court should rule that PNC has waived all of its untimely, boilerplate-type objections to the

    subpoena duces tecum (e.g., “overly broad and unduly burdensome”), which were made for the

    very first time during Ms. Basko’s deposition.6

          Rule 45(d)(2)(B) requires a party served with a subpoena to make any objections in writing

    within 14 days of service:

                (B) Objections. A person commanded to produce documents or tangible
            things or to permit inspection may serve on the party or attorney designated in the
            subpoena a written objection to inspecting, copying, testing, or sampling any or
            all of the materials or to inspecting the premises--or to producing electronically
            stored information in the form or forms requested. The objection must be served
            before the earlier of the time specified for compliance or 14 days after the
            subpoena is served.

          “The failure to serve written objections to a subpoena within the time specified by Rule

    45(d)(2)(B) typically constitutes a waiver of such objections, as does failing to file

    a timely motion to quash.” Noel-Wagstaffe v. Metro. Cas. Ins. Co., No. 17-CIV-61039, 2017 WL

    6047679, at *1 (S.D. Fla. Dec. 7, 2017); Stringer v. Ryan, No. 08-21877-CIV-COOKE, 2009

    WL 3644360, at *1 (S.D. Fla. Oct. 30, 2009) (“A non-party waives any objections if she does


    6
        See Ex. 6 at pages 58:17 to 59:1 and pages 79:14 to 80:5.

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    not timely object to the subpoena.”). Here, PNC not only failed to timely assert any objections to

    the subpoena duces tecum, but also made the affirmative representation to the Receiver that “all

    documents requested” in the subpoena duces tecum had been produced. A finding that PNC’s

    untimely objections have been waived is warranted.

        Additionally, the Court should make clear in its order that the attorney-client privilege is not

    a basis for PNC to withhold any documents or information merely because Ms. Basko referred

    the subpoena to PNC’s “legal department” to search for and produce responsive documents.7

    During the deposition in Cleveland, PNC’s outside counsel twice improperly instructed Ms.

    Basko not to discuss her conversations with the legal department concerning the subpoena. But

    Ms. Basko testified that the sole purpose of these communications was to prompt the legal

    department to search for and produce responsive documents: “the purpose of the communication

    [was] for them to provide relevant documents that [Ms. Basko] didn’t have access to” and that as

    “a matter of course, any time [Ms. Basko does not] have access to documents [she] would refer

    that to the legal department.” Indeed, when asked whether her communications with the legal

    department sought any legal advice, Ms. Basko responded: “No.”

        The attorney-client privilege does not protect these types of communications:

          … the mere fact that an attorney is present at a meeting or is copied on a
          document does not in and of itself afford privilege protection to such a meeting or
          document. The mere fact that one is an attorney does not render everything he
          does for or with the client privileged. The attorney-client privilege protects
          only communications between attorney and client where legal advice is
          sought.



    7
     Again, PNC raised this objection for the very first time at deposition, and thus any privilege
    objection is waived. See MapleWood Partners, L.P. v. Indian Harbor Ins. Co., 295 F.R.D. 550,
    583 (S.D. Fla. 2013) (citing Rynd v. Nationwide Mut. Fire Ins. Co., 2010 WL 5161838, (M.D.
    Fla. Dec. 14, 2010)) (“the failure to assert the privilege in a timely manner [may constitute]
    waiver of the privilege”).

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    In re Seroquel Prod. Liab. Litig., No. 606MD1769-ORL-22DAB, 2008 WL 1995058, at *2

    (M.D. Fla. May 7, 2008) (citing Gutter v. E.I. Dupont de Nemours & Co., No. 95-CV-2152,

    1998 WL 2017926, *1, *6-7 (S.D. Fla. May 18, 1998) opinion clarified, No. 95-2152-CIV, 1998

    WL 35333391 (S.D. Fla. June 23, 1998) (emphasis added). Corporations cannot “immunize

    internal business communications from discovery by placing legal counsel in strategic corporate

    positions and funneling documents through counsel … the protection of the privilege applies

    only if the primary or predominate purpose of the attorney-client consultations is to seek legal

    advice or assistance.” Id. at *4 (citations and alterations omitted). As explained by the district

    court in Poertner v. Gillette Co.:

          Corporate house counsel are often called upon to perform tasks that go beyond the
          traditional tasks performed by lawyers. Each document must be perused to see
          whether the attorney was involved in rendering legal advice; if the attorney was
          performing other tasks, then the communications receive no protection from
          discovery. There is general agreement that the protection of the privilege applies
          only if the primary or predominant purpose of the attorney-client consultations is
          to seek legal advice or assistance.

    No. 612CV803ORL31DAB, 2013 WL 12149369, at *2 (M.D. Fla. Mar. 12, 2013) (citations

    omitted, emphasis added).

       Here, Ms. Basko specifically testified that the purpose of her communication with her

    colleagues in Pittsburgh was not to obtain legal advice, but instead to obtain assistance in

    producing documents that she could not access herself. Plainly, the “primary or predominant”

    purpose of PNC’s legal department’s involvement with the subpoena was not to render legal

    advice, but to search for responsive documents. PNC cannot “immunize” these documents or

    related communications by tasking its “legal department” with the responsibility to search for

    and produce them. Seroquel 2008 WL 1995058, at *4. The Court should make clear that PNC




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    cannot (belatedly) assert the attorney-client privilege in this context to hide non-privileged

    documents and communications responsive to the subpoena.

                                            CONCLUSION

       PNC’s obstructionist conduct is egregious and sanctionable—particularly considering that

    PNC was already served with this Court’s Order expressly requiring PNC to “fully cooperate

    with and assist the Receiver” by “providing any information to the Receiver that the Receiver

    deems necessary to exercising the authority and discharging the responsibilities of the Receiver

    under” the Court’s Order. PNC’s actions have impeded the Receiver’s investigation and

    administration of the receivership, and caused the receivership estate to incur unnecessary

    attorney’s fees and costs at the expense of the estate’s claimants. The Court should order PNC to

    produce an appropriate Rule 30(b)(6) witness and all documents responsive to the subpoena

    duces tecum without further delay, and impose sanctions.

           WHEREFORE, the Receiver respectfully requests that the Court (i) grant this Motion;

    (ii) compel PNC to fully comply with the Receiver’s subpoenas; (iii) order PNC to produce all

    documents responsive to the subpoena duces tecum and order that all of PNC’s objections to that

    subpoena are waived; (iv) order PNC to produce a new, appropriately-educated Rule 30(b)(6)

    witness at a mutually-convenient location in South Florida to testify about the designated topics;

    (v) order PNC to pay the Receiver’s reasonable fees and costs incurred taking the wasteful

    deposition of Ms. Basko in Cleveland, in bringing and litigating this Motion, and in conducting

    the additional Rule 30(b)(6) deposition necessitated by PNC’s conduct; and (vi) grant such other

    and further relief as the Court deems appropriate.




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                              LOCAL RULE 7.1(a)(2) CERTIFICATION

       Undersigned counsel certifies that Receiver’s counsel has made reasonable efforts to confer

    with all parties or non-parties who may be affected by the relief sought in the motion,

    specifically: (i) undersigned attempted to confer by telephone with Jason Bowyer, counsel for

    PNC bank, on March 14, 2019, and left a detailed voicemail when Mr. Bowyer did not answer;

    (ii) sent an email to Mr. Bowyer on March 14, 2019, which requested a conference regarding the

    subpoenas at issue in this Motion; (iii) placed another telephone call to Mr. Bowyer on March

    15, 2019, and left him another voicemail; (iv) sent Mr. Bowyer another email on March 15,

    2019, again requesting to discuss this matter; and (v) left Mr. Bowyer another voicemail on

    March 18, 2019, again requesting to discuss this matter. As of the date of this filing, undersigned

    counsel’s telephone calls and emails have not been responded to in any way. The Receiver’s

    counsel will continue to attempt to confer with Mr. Bower; but the Receiver must not be delayed

    further by PNC unresponsiveness in pursuing the information to which he is entitled from PNC.

       Additionally, the Receiver’s counsel has conferred with counsel for the FTC, which does not

    object to the filing of this Motion and takes no position with respect to the relief sought.

           Dated: April 2, 2019.

                                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

           I hereby certify that on April 2, 2019, I electronically filed the foregoing document with

    the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

    this day on all counsel of record and entities identified on the attached Service List in the manner

    specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

    some other authorized manner for those counsel or parties who are not authorized to receive

    electronically Notices of Electronic Filing.



                                                   By:     /s/ Michael Friedman
                                                         Michael A. Friedman, Esq., FBN 71828


                                        SERVICE LIST
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                   USDC, SD Fla., Case No. 17-60907-CIV-MORENO/SELTZER


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                                EXHIBIT 5
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

        FEDERAL TRADE COMMISSION, et, al.                                      )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      17-60907-CIV-MORENO
                                                                               )
               JEREMY LEE MARCUS, et, al.                                      )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:             PNC Bank, N.A., Rule 30(b)(6) Representative, c/o Corporation Service Company, Registered Agent
                                         1201 Hays Street, Tallahassee, FL 32301-2525
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

See attached Exhibit A
 Place: PNC Bank, N.A.                                                                 Date and Time:
           4100 West 150th Street                                                                        02/01/2019 8:30 am
           Cleveland, OH 44135

          The deposition will be recorded by this method:                     Stenographically

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/24/2019
                                   CLERK OF COURT
                                                                                         OR
                                                                                                            /s/ Michael A. Friedman
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jonathan Perlman
Court Appointed Receiver                                                , who issues or requests this subpoena, are:
Michael A. Friedman, Esq., Genovese Joblove & Battista, P.A., 100 N. Tampa Street, Ste 1645, Tampa, FL 33602

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 17-60907-CIV-MORENO

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         EXHIBIT A
           Corporate Representative designated under Fed. R. Civ. P. 30(b)(6) to testify on behalf of

    PNC Bank, N.A. (“PNC”) as to (a) the efforts that PNC undertook to comply with the subpoena

    duces tecum previously served to PNC and attached as Exhibit 1 to this subpoena; and (b) the

    documents of PNC that are responsive to the subpoena attached as Exhibit 1 to this subpoena.
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                                 EXHIBIT 1




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                                EXHIBIT 6
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                                                                           Page 19
  1               Q.      Are you familiar with Titan Funding and
  2     their business?
  3               A.      Yeah.
  4               Q.      What kind of business is Titan Funding?
  5               A.      They're supposed to be a mortgage broker and
  6     lender.
  7               Q.      Now, you said they're supposed to be?
  8               A.      Well, because it's either a broker or
  9     lender, I'm not sure which one it is, but ---
 10               Q.      Are you -- have you ever done any business
 11     with Titan Funding?
 12               A.      I referred Titan Funding loans that PNC
 13     could not do, but let me rephrase it.            They have closed
 14     loans for Jeremy.       Yeah, I've been to the offices in Boca.
 15               Q.      So just so I have this correct, and correct
 16     me if I'm wrong, so at certain points in time you would
 17     refer to Titan Funding loans that PNC wouldn't -- wouldn't
 18     close on?
 19               A.      Can't close on.      It's just clients that are
 20     not bankable, and they claim to be able to have a source
 21     of funding to do those things.
 22               Q.      And what would make a potential borrower not
 23     bankable?
 24               A.      Credit was one, cash flow is two.          Not
 25     bankable is the wrong word to use, not lendable.


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  1     high.
  2                       And he said he had a bank in Kentucky that
  3     handled all their transactions or whatever it is.              They
  4     had another bank that did that stuff for them, and that
  5     that was not true or if it was true, it did not stop --
  6     stop coming to PNC Bank.        So we decided that we're going
  7     to exit our relationship.
  8                       That's what I was told why because PNC
  9     doesn't always tell you this.          Basically when corporate
 10     office decides that there's a risk, shut it down.
 11               Q.      Okay.   But in this circumstance they did
 12     indicate to you why the accounts were closed?
 13               A.      They didn't tell me why.        They don't tell me
 14     that.    They close all the accounts -- they close all the
 15     accounts and tell me to tell him we're closing all the
 16     accounts.
 17               Q.      Got it.
 18               A.      Give him like 30 days or how many days to
 19     shut everything down.
 20               Q.      But it was your belief because -- it was
 21     your belief that the accounts were closed in return -- in
 22     part because of the high number of returns?
 23               A.      High number of returns, yes.
 24               Q.      Well, certainly you experienced while you
 25     were at PNC in phrase two that what Mr. Smith had


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  1     represented about the account activity wasn't, in fact,
  2     what was happening in the accounts?
  3               A.      Yeah.   I mean, I don't -- the service he
  4     had, the returns don't show up on the branch.             It shows up
  5     more of a corporate system, that makes sense?             So I don't
  6     really see it.      They showed up somewhere else, so that's
  7     why.
  8                       And then another reason why it was closed
  9     was he would move money from one company to the other.                So
 10     from -- $40,000 from one company to the other, I mean, a
 11     big, big amount.
 12                       And I said to him, Jeremy, you can't move
 13     money like this from company to company.            The different
 14     companies -- you know, this company is 123 Loans, whatever
 15     it is, you can't move money from that to a nonprofit and
 16     back.
 17               Q.      Oh, so there were large cash transfers
 18     between the for profit and the not for profit entities?
 19               A.      Yeah, yeah.
 20               Q.      Okay.
 21               A.      And he said -- he said, look, I didn't know.
 22     He said -- he said why.        I said to him because it's -- you
 23     mixing stuff together, it doesn't make any sense.              Are you
 24     doing a loan from one to the other?           Are you talking to
 25     your accountant, and he -- you know.


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  1     fund an existing venture or business?
  2               A.       Never, never, never told me where he get
  3     money -- was getting money from.           I've asked him.       I said
  4     do you have partners, investors?
  5               Q.       Did he answer your questions?
  6               A.       No.
  7               Q.       No.   The conversation you just described
  8     about looking to get into new investments happened in the
  9     last few months?
 10               A.       Uh-huh, yes.
 11               Q.       All right.
 12               A.       Happened before we met in Miami and after.
 13               Q.       That was February when we met; correct?
 14               A.       Is it February?
 15               Q.       So we met on February 21st.
 16               A.       Yes, I met with him before and after.            He
 17     had asked other people that I know, the attorney that I
 18     use, he asked that attorney also for stuff on business.
 19               Q.       Who is that, Mr. Carey?
 20               A.       Carey, yeah, because Carey is the one who
 21     asked to help me with the affidavit, and Jeremy had asked
 22     him.    He said, yeah, Jeremy called me about some stuff,
 23     and he's like so ---
 24                        MR. GARNO:    Okay.    Let's go ahead, you need
 25     to make a call.


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  1                       THE WITNESS:     I just want to return some of
  2     these calls.
  3                       MR. GARNO:     Yeah, yeah.     Go ahead, take your
  4     time.
  5                       (Thereupon, a brief recess was taken, after
  6     which the following proceedings were had:)
  7     BY MR. GARNO:
  8               Q.      I want to kind of circle back and do a
  9     couple of follow ups on something you've talked about this
 10     morning, and it deals with the phase one of Jeremy's
 11     relationship at PNC Bank.
 12                       It was your understanding that at that time
 13     Jeremy's business was a Paralegal Staff Support --
 14               A.      Yeah.
 15               Q.      -- business?
 16               A.      Yeah, he did -- yeah, he did Paralegal
 17     Express or Paralegal something, and what he did was
 18     lawyers would outsource their business, their legal stuff
 19     to him.    He had paralegals all over the country and
 20     attorneys all over the country.
 21               Q.      Okay.   Now, you had mentioned, and correct
 22     me if I'm wrong, that one of the things that plagued these
 23     accounts in phase one was that there were excessive wires
 24     and overdrafts?
 25               A.      The account that Doug had access to -- so he


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  1     we were trying to launch off the ground.
  2               Q.      Go Fetch?
  3               A.      Go Fetch RX --
  4               Q.      Go Fetch RX.
  5               A.      -- on Page 3.
  6               Q.      Okay.
  7               A.      And said to him, look, you know, you have
  8     the resources, the call center, whatever it is.              It's an
  9     idea, what do you think?        And then when I bought the lot,
 10     he -- I put the lot in the name of Oxbridge also.              I think
 11     it was under Oxbridge.        I think the lot on Embassy Drive
 12     was in Oxbridge.
 13               Q.      What kind of business was Go Fetch RX in?
 14               A.      It never took off, which my wife wanted to
 15     do -- she's the one in the medical side, this is all stuff
 16     that she would be running anyway, her stuff.
 17                       Go Fetch was going to be a system where if
 18     you need to pick up your prescription, it will be
 19     delivered to your home or office, that was the gist of it.
 20               Q.      Did Mr. Marcus invest in either of those
 21     businesses?
 22               A.      No.   It was too slow.      It was too slow for
 23     him.
 24               Q.      And these were businesses and business
 25     opportunities that you were presenting to him while he was


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                                                                           Page 67
  1     a customer at PNC?
  2               A.      Yeah.   Well, Craig was a customer at PNC,
  3     but, yeah.
  4               Q.      And was it unusual for PNC people to have
  5     these types of out of banking relationships with
  6     customers?
  7               A.      If it didn't conflict with PNC -- didn't
  8     compete with PNC, I didn't -- I didn't see why -- I didn't
  9     talk with PNC about it at all, but it was more or less my
 10     wife.    She's the one who was more in the healthcare thing
 11     and -- sorry.
 12               Q.      Do you want some water?
 13               A.      Jeremy invest in a lot of companies.           I told
 14     my wife about Jeremy, and I think -- I'm not sure if she
 15     met him or not after that.
 16                       I didn't talk to PNC about it and, yeah, I
 17     just didn't talk to PNC about it, but Craig was the one
 18     who I dealt with -- Craig was the one whose name was on
 19     the corporations.       Jeremy was technically not a client.
 20     Sorry.
 21               Q.      That's okay.
 22                       Let me show you what we're going to mark as
 23     Exhibit 2.
 24                       (Thereupon, Exhibit Number 2 was marked for
 25     Identification.)


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  1     BY MR. GARNO:
  2               Q.      I'm showing the witness what we've marked as
  3     Exhibit 2.
  4               A.      Okay.   This is the lot.
  5               Q.      Exhibit 2 is a HUD statement dated --
  6     settlement statement dated August 10, 2015?
  7               A.      Uh-huh.
  8               Q.      Turn your attention to Page 2.         Is that your
  9     signature that appears there on behalf of Oxbridge
 10     Medical, Inc.?
 11               A.      Yes.
 12               Q.      And under this HUD, the name of the borrower
 13     is Oxbridge Medical, Inc.; correct?
 14               A.      Yes.
 15               Q.      And the name of the lender is Halfpay
 16     International, LLC?
 17               A.      Yes.
 18               Q.      And it has a 1410 Southwest 3rd Street,
 19     Pompano Beach, Florida address?
 20               A.      Yes.
 21               Q.      Do you see that?
 22                       And that was Jeremy's warehouse facility?
 23               A.      That's his -- that's his -- yeah.
 24               Q.      And it deals with a property located at
 25     3716 Embassy Drive, West Palm Beach, Florida; correct?


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  1               A.      Yes.
  2               Q.      And it appears from this that the purchase
  3     price for this property at Embassy Drive was $140,000?
  4               A.      Yes.
  5               Q.      And the amount of money lent by Halfpay was
  6     $185,000?
  7               A.      Uh-huh.
  8               Q.      Why was ---
  9               A.      The difference between the two.
 10               Q.      Yeah, what's the difference?         Why the
 11     $45,000 extra of money loaned?
 12               A.      Okay.   There -- there are two reasons, the
 13     first one was that Jeremy and I had talked about we're
 14     going to buy some lots in Port St. Lucie, and basically he
 15     will -- it will be a joint venture, buy lots in
 16     Port St. Lucie that's worth 20,000 each, plus closing
 17     costs.    We were going to build houses for about one --
 18     I'll build the houses for about one something, and sell
 19     them for about 260, and we'll split it, and that was part
 20     of the -- that was a part of it, but then later on it
 21     didn't work out.
 22               Q.      Okay.   So ---
 23               A.      And then there were other -- there were
 24     other stuff for the money with the lot that we were trying
 25     to circumvent.


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  1               Q.      What do you mean by that?
  2               A.      It was -- it was the other stuff that we had
  3     to pay off with respect to the lot.
  4               Q.      What else did you have to pay off on the lot
  5     for $45,000?
  6               A.      It was -- I'd rather not say, a lot of
  7     stuff.    It wasn't nothing to do with Jeremy, it was having
  8     to do with the lot and the deal we had with the guy.
  9               Q.      And how did it come about that -- it was
 10     your understanding that Jeremy Marcus -- Halfpay
 11     International was Jeremy Marcus' company?
 12               A.      Oh, yeah, yeah.      Well, yeah, Jeremy funds
 13     it.
 14               Q.      And at that time, Halfpay International was
 15     a customer of PNC in 2015?
 16               A.      Yes.
 17               Q.      How did it come about that Jeremy, through
 18     Halfpay, lent you -- lent Oxbridge Medical $185,000 in
 19     August of 2015?
 20               A.      I think -- well, it came up originally, I
 21     was speaking to Eddie, said I'm trying to buy this lot in
 22     West Palm Beach, but it's hard to get a lot loan.
 23               Q.      Mr. Piazza?
 24               A.      Piazza, yeah.
 25               Q.      Okay.


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  1               A.      Hard to get a lot loan.        He said call
  2     Jeremy.    Okay.    So I called Jeremy.       Jeremy, I'm trying to
  3     get this lot loan.        He's like, okay.     How much is it?       He
  4     said, okay, we can do that.         He asked me for the lot
  5     address, what the comps were at the time.
  6               Q.      And what do you think the lot is worth today
  7     if you had to guess?
  8               A.      I don't know.     I don't know because there's
  9     a -- I'm -- I get e-mails from the HOA still.             There are a
 10     couple of break-ins, like three more break-ins a couple
 11     weeks ago, but they're building new houses up there.               So
 12     it's -- it could be 140 to 250, I will say, anywhere
 13     between there.
 14                       There is another one up the street that's on
 15     the water, that's nice, that's about 250.             This is not on
 16     the water.
 17               Q.      Is this property vacant?
 18               A.      It's dry land.
 19               Q.      Dry land.
 20               A.      It's land.    It varies.     The HOA changed to
 21     being really, really bad.         I mean, really, really
 22     restrictive.      There are couple of sales going up now
 23     because people there for like 20 years are moving out.                So
 24     I don't know, I'd say between 150 and 250.
 25               Q.      Okay.   I want to go back to the funding.           So


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  1     the extra $45,000 that was funded to your company from
  2     Jeremy Marcus beyond the purchase price, how much of that
  3     money went to buy lots in Port St. Lucie?
  4               A.      We were supposed to buy the lots.          We didn't
  5     buy the lots.
  6               Q.      Okay.   So no money went to that?
  7               A.      No.
  8               Q.      The $45,000 of extra funding --
  9               A.      No.
 10               Q.      -- didn't go to that?
 11               A.      Well, it's not -- yeah, go ahead, yeah.
 12               Q.      And how much of the $45,000 of funding in
 13     the transaction went to deal with issues on the lot?
 14               A.      I don't remember.      I mean, it's -- I don't
 15     remember.      I had to pay some people on it and some of
 16     people who were involved.
 17               Q.      Okay.
 18               A.      I can -- I can check.
 19               Q.      Sure.   Who did you have to pay?
 20               A.      I don't want to tell you.        The owner, who I
 21     bought the lot from his sister.          His sister bought both
 22     lots, so it's ---
 23               Q.      Mr. Gregory?
 24               A.      Yeah.   He was living in Europe at the time,
 25     his sister -- we bought it from his sister.             There was


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  1     some other stuff I had to do to pay her and some other
  2     stuff.    It's -- I'm not getting -- I'm not getting him
  3     involved.      I just want to keep it ---
  4               Q.      No, no, and just candidly, I'm not looking
  5     to get them involved.
  6               A.      Okay.
  7               Q.      I'm just trying to understand where the
  8     $45,000 went.
  9               A.      So basically I had to pay other people to
 10     get the lot, and he had other money he owed somebody else,
 11     I had to pay them, and it was just all this other stuff.
 12               Q.      And how much of the $45,000 went to making
 13     those payments?
 14               A.      Most of it.
 15               Q.      Most of it?
 16               A.      And then there's closing costs.         I'm trying
 17     to see where the closing costs is, I can't find it.
 18     There's closing costs.        I'm trying to see where the
 19     closing costs, I can't see the closing costs.
 20               Q.      Okay.   So most of the $45,000 went to make
 21     payments to other people so that the deal could happen
 22     that aren't reflected in the closing statement?
 23               A.      Yeah, yes.
 24               Q.      And why -- why was it decided that those
 25     wouldn't be addressed in the closing statement?


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  1               A.      Because they were not party to the
  2     transaction, directly to the transaction.
  3               Q.      Was Jeremy aware that those -- that that
  4     money was going to be ---
  5               A.      At the time he was, later on he said he
  6     wasn't, but at the time he was.          At the time he knew about
  7     it.   I told him, I said, look, here's the deal.             That's
  8     why he -- he went higher than the contract had it on it,
  9     and then he -- then he said he didn't remember.              I said,
 10     Jeremy, we talked about it.
 11                       How much was the net?       I'm trying to see
 12     where this thing is.
 13               Q.      It looks like it's about $53,675.20 is the
 14     net to borrower.       Do you see that?
 15               A.      Yeah, it wasn't that much.        No, it wasn't
 16     that much.      It wasn't close to that much.
 17               Q.      All right.
 18               A.      It wasn't close to that much.         It was a
 19     lot -- it was a lot less.         It was a whole lot less.
 20               Q.      Let me show you what we're going to mark as
 21     Exhibit 3.
 22               A.      It was a whole lot less.
 23                       (Thereupon, Exhibit Number 3 was marked for
 24     Identification.)
 25     BY MR. GARNO:


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                                                                           Page 75
  1               Q.      Exhibit 3 is a mortgage and security
  2     agreement dated August 10, 2015.          The parties are
  3     Oxbridge Medical and Halfpay International.
  4               A.      Uh-huh.
  5               Q.      Let me direct your attention to the page
  6     that has Number 24 on it.         Is that your signature on
  7     behalf of Oxbridge Medical?
  8               A.      Yes, yes.
  9               Q.      And this was the mortgage that Halfpay put
 10     on the Embassy Drive property for $185,000?
 11               A.      Yes, yes.
 12               Q.      And this -- the mortgage served as security
 13     for the $185,000 loan --
 14               A.      Yes.
 15               Q.      -- that was made from Halfpay to Oxbridge?
 16               A.      Yes.
 17               Q.      Was there a promissory note executed in
 18     connection with the transaction?
 19               A.      I think so.
 20               Q.      Let me show you what I'm going to mark as
 21     Number 4.
 22                       (Thereupon, Exhibit Number 4 was marked for
 23     Identification.)
 24     BY MR. GARNO:
 25               Q.      I'm showing the witness what we've marked as


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  1     Exhibit 4.       It's a balloon promissory note dated
  2     August 10, 2015 in the amount of $185,000.               The maker is
  3     Oxbridge Medical, Inc. and the lender is Halfpay
  4     International, LLC.
  5                        Do you see Exhibit 4, Mr. Douglas?
  6               A.       Yes.
  7               Q.       Is that your signature that appears on the
  8     last page of Exhibit 4?
  9               A.       Yes.
 10               Q.       And this was the balloon promissory note
 11     that Oxbridge executed in favor of Halfpay?
 12               A.       Yes.
 13               Q.       It looks like that this is a balloon
 14     promissory note?
 15               A.       Yes.
 16               Q.       And that the balloon payment was due on
 17     August 10, 2018?
 18               A.       Yes.
 19               Q.       And this note required that Oxbridge make
 20     monthly interest payments?
 21               A.       Yes.
 22               Q.       And then I guess it was 36 months later it
 23     would pay off the balloon on the note?
 24               A.       Yes.
 25               Q.       In connection with this August 2015


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  1     transaction, did Oxbridge Medical also pledge its shares
  2     to secure this loan obligation to Halfpay?
  3               A.      I think there's another agreement that says
  4     that, yeah.
  5               Q.      Let me see if I can show you the other ---
  6               A.      Yeah.
  7                       (Thereupon, Exhibit Number 5 was marked for
  8     Identification.)
  9     BY MR. GARNO:
 10               Q.      I'm showing you Exhibit 5.        It's a pledge
 11     security agreement.       Do you recognize that document?
 12               A.      Yeah.
 13               Q.      This was additional collateral that was
 14     provided to Halfpay in connection with this August 2015
 15     loan?
 16               A.      Uh-huh.
 17               Q.      And is that your signature on the last page?
 18               A.      Yes.
 19               Q.      And you signed it on behalf of both
 20     Chancellor Holdings --
 21               A.      Yeah.
 22               Q.      -- and Oxford Medical; correct?
 23               A.      (Nods head.)
 24               Q.      And so under this agreement, Oxbridge
 25     pledged a hundred percent of all of its shares to Halfpay


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  1     to secure the loan?
  2                A.      I'm sorry, sorry.
  3                Q.      That's okay.
  4                A.      Say again, please.
  5                Q.      Sure.   Under this agreement Oxbridge pledged
  6     a hundred percent of its --
  7                A.      Yes.
  8                Q.      -- shares to Halfpay to secure the loan?
  9                A.      Yes.
 10               Q.       And who holds those shares?
 11               A.       I don't understand who, Jeremy.        You mean
 12     who holds them now or who held it or ---
 13               Q.       Who holds them now?
 14               A.       I guess it will be Halfpay.
 15               Q.       Did you physically deliver the shares to
 16     Halfpay?
 17               A.       There's no -- no, there's no ---
 18               Q.       There's no paper shares or anything like
 19     that?
 20               A.       No.
 21               Q.       And I think you said this earlier, what's
 22     the status of Oxbridge Medical?
 23               A.       Oh, it's been -- it's been defunct for a
 24     long time.
 25               Q.       Dead for a while.


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  1                         Okay.   I'll show you what we're going to
  2     mark as Exhibit Number 6.
  3                         (Thereupon, Exhibit Number 6 was marked for
  4     Identification.)
  5     BY MR. GARNO:
  6                Q.       And isn't it also true that in connection
  7     with this August 2015 transaction regarding the
  8     Embassy Drive property, that you personally guaranteed
  9     performance and payment of Oxbridge's note obligation to
 10     Halfpay?
 11               A.        Yes.
 12               Q.        And I'm showing you Exhibit 6 -- yeah,
 13     Exhibit 6.
 14               A.        Uh-huh, 6.
 15               Q.        It's a guaranty of payment and performance,
 16     and it reflects that Denton Douglas is the guarantor and
 17     that Halfpay International is the lender; correct?
 18               A.        Yes.
 19               Q.        And does that signature -- is that your
 20     signature that appears on the second to last page of
 21     Exhibit 6?
 22               A.        Yes.
 23               Q.        So at that time in 2015, you guaranteed the
 24     payment would be made under the note that we looked at?
 25               A.        Yes, yes.


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  1               Q.      Ultimately you closed on that property,
  2     Oxbridge Medical became the owner of the property located
  3     on Embassy Drive?
  4               A.      Yes.
  5               Q.      Who is currently the title owner of that
  6     property?
  7               A.      I think it's Halfpay.
  8               Q.      Let me ask you a question.        How did Halfpay
  9     become the title owner to the property?
 10               A.      Quitclaimed it back to them.
 11               Q.      When did you quitclaim that property?
 12               A.      I don't remember the exact time, maybe a
 13     couple years ago.        I don't remember.
 14               Q.      And why did you quitclaim it back to Halfpay
 15     or why did Oxbridge Medical?
 16               A.      Well, I was behind is one.        Jeremy did not
 17     follow through with the -- the deal was -- that we had
 18     with Jeremy was, I'm going to get this lot, I'm going to
 19     build my primary home on it.         We're going to do this stuff
 20     in Port St. Lucie, and then the profit from that, I will
 21     be able to do this.       You know, it was going to be tight to
 22     do the lot and the other stuff.
 23                       So when I missed a couple payments, made
 24     them, a couple payments, made them, so then Jeremy started
 25     to -- he hired Craig's wife as his bill collector.               So I


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  1     fell back.
  2                        I talked to Jeremy.      He said to me, look,
  3     here's the deal.       He said -- he said I'll stop harassing
  4     you -- well, he was calling me at work and telling me he's
  5     going to call PNC Bank to say, look, you're a bad person,
  6     you didn't pay your bill and you're not qualified to be a
  7     business banker.
  8                        I'm like, you know what, fine, I can't do
  9     nothing.       That's fine, you can have it back.        He said,
 10     here's the deal, quitclaim it back to me and, you know,
 11     when you get caught -- I'll stop all the collection, all
 12     the interest and everything else.           When you're ready to
 13     pay, we can start again, that is when it was quitclaimed
 14     back to him.
 15               Q.      Okay, and so let me show you this.          So
 16     throughout -- after the note was entered into, would it be
 17     fair to say that payments were not consistently made on
 18     the note?
 19               A.      No, I knew it was going to be tough and I
 20     told him.      I said, Jeremy, I need this other stuff to do
 21     this.    He said, yeah.      And then Eddie told him, no, and
 22     that was like -- so I don't know why.            Said no, we can't
 23     do it, Port St. Lucie, out of nowhere he changed his mind.
 24               Q.      What was the other stuff that you needed
 25     that you just referred to?


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  1                A.      Well, the deal we had with him, he was -- he
  2     was going to look at buying -- he owns a bunch of lots all
  3     over the place, in Delray Beach, et cetera, and he's
  4     building a couple things in Boca or somewhere, he's
  5     building all these house.
  6                Q.      This is Jeremy?
  7                A.      Jeremy, yeah, Jeremy, to live in.         I said
  8     look, I can -- I can do something cheaper in
  9     Port St. Lucie, the lots are cheaper, 20,000, build a
 10     house for about 150, 160, 170, sell it for like 270.               So I
 11     wanted to do that, and that will -- cash flow will give me
 12     a chance to pay this lot and make some money.
 13                        He said, yes, we'll do that.
 14               Q.       But how were you going to put money into the
 15     Port St. Lucie lots?
 16               A.       He was going to fund it.       The deal was he'll
 17     fund it.     The deal was I get the builder, I get the
 18     drawing, he doesn't have time to go up there, he'll fund
 19     it and then he would have his person to close it only, and
 20     then he will -- we'll split it or he will finance the new
 21     buyer.
 22                        He said, look, I'll finance the new buyers.
 23     If you get a buyer, I'll finance it, and I'll just, you
 24     know, work this out with you and stuff.
 25                        I said, perfect, it's good for me, but then


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  1     it's like before we even finished talking, he forgot.
  2               Q.      That never got off the ground?
  3               A.      No.
  4               Q.      Let me show you what we've marked as
  5     Exhibit 7.
  6                       (Thereupon, Exhibit Number 7 was marked for
  7     Identification.)
  8                       THE WITNESS:     Yes, this is from Tiffanie.
  9     BY MR. GARNO:
 10               Q.      Yeah, Tiffanie, I think you referred to.
 11     That's Craig Smith's wife Tiffanie Smith?
 12               A.      Yeah.
 13               Q.      You'll see this is an e-mail exchange in
 14     January -- June, excuse me, of 2016, regarding payments on
 15     the Embassy Drive property.
 16               A.      Yes.
 17               Q.      You'll see that she wrote to you that your
 18     payment hadn't been made, and you had responded to her
 19     that you had made the payment, and that you also requested
 20     that you use -- that she use the tripled@ymail.com --
 21               A.      Uh-huh.
 22               Q.      -- as this is monitored by PNC.
 23                       What other e-mail addresses did you utilize
 24     during this time period besides tripled@ymail?
 25               A.      Tripled, and I'm not -- I think it was --


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  1     I'm not sure of anything else.          I don't think I gave them
  2     anything else, I don't remember, honest.
  3               Q.      And you didn't want her e-mailing you at PNC
  4     for what reason?
  5               A.      Because Jeremy threatened to tell PNC that
  6     I'm behind on a bill, which would be bad for me.
  7               Q.      And why would that be bad for you?
  8               A.      Because I'm a banker and I should be able to
  9     pay all my bills.
 10               Q.      It appears that the loan agreement that we
 11     looked at was modified?
 12               A.      Yeah.
 13               Q.      Take a look at Exhibit 8.
 14                       (Thereupon, Exhibit Number 8 was marked for
 15     Identification.)
 16     BY MR. GARNO:
 17               Q.      I'm showing you what we've marked as
 18     Exhibit 8, it's an addendum to the loan agreement.
 19               A.      Yes, there should be something -- go ahead.
 20               Q.      Is that your signature that appears on
 21     behalf of Oxbridge?
 22               A.      Yes.
 23               Q.      It appears -- and the date of this is
 24     July 7, 2016?
 25               A.      Uh-huh.


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  1               Q.       It appears there was a modification to the
  2     total payoff that was due on the loan?
  3               A.       Yes.
  4               Q.       And what was -- what were the circumstances
  5     around this modification?
  6               A.       Jeremy, he said he -- there's something
  7     missing.       There is something missing.       That he had spent
  8     10,000 in legal fees for consulting and he was going to
  9     tell PNC if I don't come in and do this right away, so I'm
 10     like, fine.
 11               Q.      So this document basically agreed to
 12     increase the monthly payments that were due?
 13               A.      Yeah.
 14               Q.      And increase the amount of the balloon
 15     payment at the end?
 16               A.      Yeah.
 17               Q.      Even after this modification, though, you
 18     were still having issues making timely payments to Jeremy?
 19               A.      Yeah, I mean, he said -- he said, look,
 20     Port St. Lucie was too far for him to do the stuff, if I
 21     find stuff closer, like West Palm, he'll do it.              I said
 22     fine.
 23                       He didn't do it, so I just -- I didn't think
 24     he would, anyway, but, yes, I had trouble paying this,
 25     also.


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  1               Q.       So let me understand, what was your intent
  2     or what was Oxbridge's intent when it acquired the
  3     Embassy Drive property, was it to ---
  4               A.       To live there, to build a house myself.
  5               Q.       To build a home?
  6               A.       For myself.
  7               Q.       There was no business purpose for it?
  8               A.       No.
  9                        (Thereupon, Exhibit Number 9 was marked for
 10     Identification.)
 11     BY MR. GARNO:
 12               Q.       I'm going to show you what we've marked as
 13     Exhibit 9.      I'm going to represent to you that these are
 14     various text messages that we were able to secure off of
 15     Mr. Marcus' telephone, and the dates on these text
 16     messages is October 4th and October 5th of 2016.
 17                        You'll see at the very top, those are texts
 18     from Tiffanie Smith to a number of parties, one of which
 19     is Ddd PNC Banker, and it has a phone number of
 20     (561)723-3037.
 21               A.       Yeah, I see that.
 22               Q.       Is that your cell phone number?
 23               A.       Uh-huh.
 24               Q.       Or was that your cell phone number at the
 25     time?


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  1               A.      Yes, yes.
  2               Q.      And you can see there that on the 5th that
  3     she had told you that there was late payment again?
  4               A.      Late payment.
  5               Q.      You'll see that two down from that ---
  6               A.      Two down?
  7               Q.      Yeah, the number 232 appears next to the
  8     text.
  9               A.      Yeah.
 10               Q.      It's a text from Mr. Marcus to you?
 11               A.      Uh-huh.
 12               Q.      And he asks you, can I change my SS number
 13     and name to solve the problems I'm having with banking?
 14               A.      Uh-huh.
 15               Q.      Do you see where he texted you that?
 16               A.      Yes.
 17               Q.      And what do you recall about Mr. Marcus'
 18     inquiry at that time about changing his Social Security
 19     number and his banking problems?
 20               A.      Yeah, he was getting his accounts closed.             I
 21     think PNC at the time had closed his account -- had closed
 22     his account, and I think BOA had closed his account.               He
 23     believed that it was because he was on either Check
 24     Systems or Early Warning.
 25               Q.      What is -- what is Check Systems and Early


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  1     Warning?
  2               A.      It's when you have give a bounced check, you
  3     go to this credit bureau of checks, and your bank shares
  4     your information, so he thought he was on Check Systems.
  5                       And Early Warning is when a client has a
  6     history of doing something, there's a company that all the
  7     banks have this database that we say, hey, this person is
  8     not a person that is bankable.
  9               Q.      Okay.
 10               A.      I said to him that that won't -- I gave him
 11     the number of Check Systems and Early Warning.
 12               Q.      And you also -- in terms of changing his
 13     Social Security number, do you remember any conversations
 14     you had with him about doing that?
 15               A.      Oh, yeah.
 16               Q.      Do you know if he ever changed his Social
 17     Security number?
 18               A.      I don't know if he did.
 19               Q.      Do you recall anything that you told him in
 20     connection with his request or his question, excuse me?
 21               A.      I told him that I've had clients who have
 22     changed Social Security number, but I don't -- it's -- I
 23     said the issue -- his issue was something else.
 24                       He thought the issue was something else.            He
 25     said he has no fraud, he has good credit, he has an


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 1     American Express card, et cetera.          So I thought it was
 2     just Check Systems or Early Warning.
 3                       But he asked me for -- I said to him, look,
 4     I've heard it's been done before.          I don't know how they
 5     do it.    He said he had a lawyer in Vegas or somewhere.             I
 6     know it was done, I had a client who did it.             I don't know
 7     how they do it.
 8               Q.      I don't either.
 9                       Okay.   I can tell from the e-mail, these
10     text messages, that Mr. Marcus became increasingly upset
11     with you about payments that were due on this note; is
12     that fair?
13               A.      He cursed, he called ---
14               Q.      We'll get there.
15               A.      Okay.
16               Q.      There's ---
17               A.      You don't have that.
18               Q.      Unfortunately, I've seen some of it.
19                       (Thereupon, Exhibit Number 10 was marked for
20     Identification.)
21     BY MR. GARNO:
22               Q.      Let me show you what we've marked as Exhibit
23     10.
24               A.      Yeah.
25               Q.      Again, this is a series of text exchanges


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 1     between you and Mr. Marcus; correct?
 2               A.      Yes.
 3               Q.      And these texts are in the early part of
 4     November 2016?
 5               A.      Yes.
 6               Q.      The first one he sent to you on
 7     November 7th, that he was just going to send a legal
 8     notice and he was tired of this, and you were in default.
 9                       Do you recall him telling you these things
10     at that time?
11               A.      Yes.    Jeremy always forget his promises, he
12     always does that.        It's whatever is in his mind is
13     absolutely right.        And I would tell him, Jeremy, that's
14     not what we agreed.       I did it, and I did sign for this,
15     but I told you I can't afford to pay it unless you do
16     these things, the stuff.        It's -- yeah.
17               Q.      And during this time period he threatened to
18     send you to legal or file a lawsuit against you?
19               A.      He threatened to go to legal, to call my
20     boss, what's my boss' number, which I gave it to him, and,
21     yeah, he got worse, he called me -- he called me
22     constantly.
23                       I would block his number.       He'd call me from
24     a different phone number.        He got different numbers to
25     call me from, so I didn't know it was him.


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 1               Q.      Ultimately ---
 2               A.      So I just quitclaimed the property you
 3     showed me.
 4               Q.      Let me show you what we're going to mark as
 5     11.
 6                       (Thereupon, Exhibit Number 11 was marked for
 7     Identification.)
 8     BY MR. GARNO:
 9               Q.      Exhibit 11 is an e-mail with an attachment
10     from December 15, 2016, from halfpayproperties@gmail.com
11     to tripled@gmail.com.
12                       Was that -- was that your e-mail address at
13     the time?
14               A.      Ymail, not gmail, but yeah.
15               Q.      You'll see again, this is an official -- a
16     somewhat official looking notice of default that was
17     served upon you?
18               A.      Yeah.
19               Q.      So by December 15, 2016, he had said you
20     were in default on ---
21               A.      Well, you're missing something, another --
22     go ahead, maybe you have it here.
23               Q.      So by December of 2016, he had declared you
24     in default --
25               A.      Yes.


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 1                Q.      -- under the loans?
 2                        I have to tell you, I've seen a number of
 3     these texts where he feels like you've tricked him or
 4     you've conned him.
 5                A.      Yeah.
 6                Q.      What's that about?
 7                A.      It's the balance -- I told Jeremy, Jeremy,
 8     I'm buying the lot for this price.          It's his sister got to
 9     pay X amount of money, he want that amount of money,
10     here's what it is.         He was fine with it, he got a copy of
11     the HUD.    He had approved the HUD before the funding could
12     happen.    So he got the HUD, he went through it, he called
13     me up, he got it.        After the closing, it came another HUD
14     again showing the difference.
15                        His thing was I wasn't aware that I'm
16     lending more money.        I said, Jeremy, but we went through
17     it a couple of times and you -- the lawyer sent you the
18     HUD for you to approve it at closing.           I mean, we call you
19     a couple times, you get it, you looked at it.
20     Kathleen McGrath, I believe she was, looked at it.
21               Q.       This is that $45,000 difference?
22               A.       Yeah, I think so.     So we did -- we did talk
23     about it before and during.         His issue was, oh, the lot
24     value went down.        I can't sell the lot now.
25                        I'm like, Jeremy, but it wasn't for me to


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 1     flip it.       I wish I had recorded the stuff I said to him,
 2     but call the attorney who did the closing.            I mean, it
 3     wasn't that we just scammed you, you saw the HUD, you saw
 4     the stuff, you saw the money going back.
 5               Q.       Now, the $45,000, you're a little bit vague
 6     when you told me where that went.
 7               A.       Yeah.
 8               Q.       So you had to pay the owner and his sister
 9     an off -- off closing statement fee to get the deal done?
10               A.      I had to do some -- I did some stuff with
11     it.   I had -- I wanted to do the lot in Port St. Lucie,
12     and I think I had to pay the owner some money.             I don't
13     remember all the details that went with it, but it
14     didn't -- it didn't go towards -- it wasn't -- it didn't
15     go toward the Port St. Lucie lots.
16               Q.      It didn't go to that?
17               A.      No.
18               Q.      And so it was my understanding that the
19     45,000 difference went to make payments on behalf of the
20     owners who were selling the property; is that fair?
21               A.      That's fair, some of it.
22               Q.      Okay, and some of it went to you personally?
23               A.      Yeah.
24               Q.      How much -- how much of it went to you
25     personally?


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 1               A.      I don't remember.
 2               Q.      Okay.
 3               A.      I can let you know if I can check.
 4               Q.      Sure.
 5               A.      I can check on it.
 6               Q.      I'm just curious, and this is what ticked
 7     off Jeremy in terms of feeling like you had tricked him or
 8     fooled him?
 9               A.      Yeah, but it's -- Jeremy before -- Jeremy
10     even had the lot appraised, and it appraised for a lot
11     more than that.       He's like, okay, I could do the -- in
12     fact, he told me what he could do on the lot.             He said to
13     me, I looked at it, I looked at the comps.            Okay, cool, I
14     could do this.
15               Q.      Okay.
16               A.      And that's why, but Jeremy, as good or bad
17     as he is, he does his due diligence.           He does -- I mean,
18     he does due diligence.       He got the lot, he went to PAPA,
19     he pulled up the stuff, he look at the comps in it, and he
20     did some other stuff.       He sent one of his guys to look at
21     the property.      He did his stuff.
22               Q.      Okay.
23               A.      So there wasn't a trickery onto it.          It was
24     when later on he wanted to sell it, wholesale it, he's
25     like, oh, I can't get it sold now.


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 1                       Jeremy, call the attorney who did the
 2     closing, she sent you the stuff, I told you before.              Call
 3     Eddie.    Eddie told you what's going to happen.           I mean,
 4     it's -- but, I mean, Jeremy -- it's what it is.
 5                       (Thereupon, Exhibit Number 12 was marked for
 6     Identification.)
 7     BY MR. GARNO:
 8               Q.      Let me show you Exhibit 12.        Again, it's
 9     another text exchange --
10               A.      Yeah, there's ---
11               Q.      -- between you and Jeremy.        It's on -- the
12     text exchange between you and Jeremy is from January 17,
13     2017.    You'll see -- well, we'll edit this for the
14     children at home.       He's very upset with you and he
15     references, if you didn't want to sign the agreement, just
16     say so.
17               A.      Yeah.
18               Q.      What agreement was he referring to when he
19     texted you that in January of 2017?
20               A.      I don't remember.      I don't know if it was
21     the quitclaim deed was in January or after.            I don't know
22     if it was quitclaim deed or it was the extension, I don't
23     remember.
24               Q.      Were there -- were there discussions during
25     this time about you providing a deed in lieu of


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 1     foreclosure on the property?
 2               A.      I think it was a quitclaim deed -- it was a
 3     quitclaim and a modification.         I don't remember which one
 4     this was referring to, I'm sorry.
 5               Q.      And then the last text message on
 6     Exhibit 12, is your response to him ---
 7               A.      Which one?
 8               Q.      It's the one at the bottom.
 9               A.      Okay.
10               Q.      It's the one that comes from you.         Do you
11     see where you texted Mr. Marcus in January?
12               A.      Yeah.
13                       MR. PERLMAN:    Why don't you read what it
14     says.
15                       THE WITNESS:    Okay.    I got it, yes.
16     BY MR. GARNO:
17               Q.      And this goes back to something that we had
18     talked about about him making promises to you?
19               A.      (Nods head.)
20               Q.      Okay.   Let me go back to the text and I want
21     to kind of break it down a little bit.
22                       On January 17th you texted him.         You have
23     called me names and completely taken this to the gutter
24     and I have been respectful in all my communications with
25     you.


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 1                       Do you see where you texted Jeremy that?
 2               A.      Yes, yes.
 3               Q.      I helped your company in so many cases.
 4     What were you referring to when you texted him that?
 5               A.      Oh, his -- his advanced TM.        I didn't have
 6     it, and I literally spent a lot of time finding this
 7     product, which the firm had, and getting the people on it
 8     to make an exception for this.
 9                       It was -- it's -- it was a Cash 21 advanced
10     TM stuff.      It was -- I mean, he told me that with the --
11     with the lockbox and the company in Kentucky getting his
12     stuff below two percent, whatever it is, I mean, it was a
13     lot of work, and I didn't get paid on this because
14     advanced TM belongs to commercial banking, they don't pay
15     the business banker on it.
16               Q.      Okay.
17               A.      But I -- it was a lot of work, back and
18     forth, getting his people stuff, getting the paperwork
19     done that I was completely not familiar with.             I had to do
20     a class on it just because I thought that this is a good
21     business, it makes sense, you know stuff like that.
22               Q.      Any other ways that you helped his company
23     besides that?
24               A.      He wanted -- when PNC -- yes, I help him on
25     two other occasions.       His company or him, either one.


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 1               Q.      It doesn't matter for purposes of my
 2     question.
 3               A.      Yeah.
 4               Q.      Either Jeremy or his companies.
 5               A.      He wanted to buy a bank, and he had promised
 6     me to pay me for it and whatever it is, but -- and I did
 7     research on banks, banks for sale, thrifts, banks that are
 8     small, and he had his partners, some multi-millionaire
 9     partners that want to do this, give them the report.
10                       And the other one was he wanted a bank that
11     was more intimate that he can sit down with, et cetera,
12     and talk to, and do I know of a good TM person to work
13     with.
14                       I said, look, the TM person who is really
15     good is Gil, and I set up the meeting, give him the
16     number, set up the meeting with him.           It was like either
17     Florida First, First Florida, I know where the branch is,
18     but one of those other banks.
19                       But I went out of my way just to help him,
20     say, look, you know, it's -- it seemed like a good
21     business.      I met his wife at the time, his fiance at the
22     time.
23               Q.      Any other ways -- any other ways you helped
24     him that you're referring to in the text?
25               A.      The letter for the bank in Puerto Rico or


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 1     Panama.    Introduced him to Titan to do his lending and his
 2     servicing, et cetera.       I can't think of anything else
 3     right now.
 4               Q.      Okay, and the promises that he made that he
 5     never kept that you referenced in your text, what were you
 6     referring to?
 7               A.      He -- the promise he made was, if you want
 8     to do the stuff for yourself, real estate stuff, I'll fund
 9     it for you and we'll split it.
10               Q.      This is the Port St. Lucie deal?
11               A.      Yeah, Port St. Lucie.       I mean, that was --
12     he said he'll do it.       He had to -- he called Titan to see
13     how he can protect himself.         He was going to buy it in his
14     name and give me a contract to give to the title company
15     that settlement is split, X, Y, Z, split this way and he
16     didn't do it.
17               Q.      Anything -- any other promises that he made
18     to you that you felt like he didn't keep?
19               A.      If I help him with the other stuff, he says
20     he'll credit -- first he said to me I'll -- I'll give
21     you -- if I find another bank that is small, I can sit
22     down and work with, I'll give you one year salary.              I
23     said, Jeremy, I made 120 last year.           He's like, oh.     I'll
24     give you a hundred thousand, then.          That's fine.      He did
25     that twice, for that and also for the stuff.             He said I'll


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 1     do it, you know, swear on whatever it is you want to swear
 2     on and he didn't do it.
 3               Q.      Okay.   Let me -- let me ask you a question
 4     about what you just said.
 5                       What was he looking for you to do in
 6     connection with the small bank that he wanted to sit down
 7     and talk to?
 8               A.      He said that the big banks are too
 9     automated, they don't understand his business, and so if
10     he can get a small bank to say, look, here's the -- here's
11     how we do business.
12                       One of his things was that the reason why --
13     and I didn't know why the accounts were being closed out,
14     there was more stuff to it, but I know that one -- one of
15     the things that he told me was that when he was in college
16     he was accused of battery or rape or something like that,
17     and he believed that banks are Googling him and finding
18     that assault, and that's why it's happening.
19                       I said, well, it's simple.        Get a small
20     bank, sit with them and he -- so I gave him -- the first
21     name I gave him was Gil and Gil was a -- a TM officer or a
22     big TM guy at another bank.         So he could sit with him,
23     tell him -- explain to him how you do your thing because I
24     never even understood how money goes from a customer, to
25     one bank, to us.       I never got that Kentucky -- how they


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 1     could clean it up.
 2                Q.       Was this after PNC kicked him out for the
 3     second time?
 4                A.       I don't remember, but it was probably close
 5     around that time.
 6                Q.       Okay.   So before this conversation where he
 7     felt like the banks were persecuting him because of
 8     whatever happened in college --
 9                A.       He thinks it was that, and that ---
10               Q.        -- he had been banking at PNC, Chase, Bank
11     of America?
12               A.        I think it's after this.      I don't know the
13     date of this text, that's why I can't tell you, but PNC
14     closed the account because of the transactions were not
15     what he said it was going to be.           It was way higher, and
16     he doesn't think it's a big deal because everybody has
17     returns.
18               Q.        Okay.   So when he -- when he made this
19     promise to you that he would give you a year's worth of
20     salary if you did what, what were you supposed to do?
21               A.        It was two things, it was two different
22     deals.
23               Q.        Okay.
24               A.        One was he wanted to buy a bank.
25               Q.        Understood.


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 1               A.      And he wanted me to find out for him what
 2     banks are undercapitalized, and he had -- he and his
 3     partners had lot of money.        One of the partners he had
 4     does ATM machines, ATM machines --
 5               Q.      Okay.
 6               A.      -- all over -- all over Florida, and they
 7     want to buy a bank, and I gave him a list of banks that
 8     are in trouble or you know.
 9               Q.      Do you recall the name of any of these
10     partners that he was looking to buy the bank with?
11               A.      I know that -- no, I know one of the guys --
12     one of the guys is the ATM machine, remote ATM, remote.
13     So he had ATM machines at a fair or somewhere else that he
14     does.
15               Q.      Okay.
16               A.      So that was -- so I did a lot of research, I
17     called a couple of friends of mine, went online, did a
18     bunch of research, I mean, and I gave him a couple of
19     banks he was going to buy it, he offered me a job.              I
20     said, no, no, no, I'm not going to work for a small bank
21     in Tennessee or Georgia.
22                       The other one was he -- I guess, I mean, I
23     can imagine because he was desperate, introduction to a TM
24     officer who he can talk to about his business, he and
25     Otto.


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 1                       And the third time was to -- he was at
 2     Landmark bank for his personal account, but he wanted to
 3     meet a business banker at Landmark to talk to, and I gave
 4     him the number for somebody at Landmark bank to talk to.
 5               Q.      For business accounts?
 6               A.      For business accounts.       Because he said that
 7     he was told that the big banks have a higher threshold for
 8     stuff, and his other friends who are in the same business
 9     don't have this problem because they were with small
10     banks.    But, again, he thought it was personal stuff
11     because PNC caught his college thing.
12               Q.      And I think you referenced -- you referenced
13     in your statements that it was a time of desperation for
14     him?
15               A.      Yeah.
16               Q.      What did you mean by that?
17               A.      Whenever a bank closed his accounts, he gets
18     desperate and he makes promises and stuff like that.
19               Q.      And just from a timing perspective, are the
20     promises we've talked about in terms of the bank, and the
21     introduction to the TM officer, the Landmark introduction,
22     this occurred after the phase two relationship at PNC?
23               A.      I'm sorry.
24               Q.      That's okay.
25               A.      I'm sorry, can you say that again?


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 1               Q.      Sure.   I'm just looking for the timing of
 2     these promises.       Were these promises occurring after --
 3               A.      After PNC.
 4               Q.      -- after PNC kicked him out for the second
 5     time?
 6               A.      After PNC, yes.     He was with other banks
 7     and he was flying to Panama and doing well.
 8                       (Thereupon, Exhibit Number 13 was marked for
 9     Identification.)
10     BY MR. GARNO:
11               Q.      I'm showing you what we've marked as
12     Exhibit 13.
13               A.      Another one that you must be missing.
14                       MR. PERLMAN:    Which one is 13?
15                       MR. GARNO:    13 is the quitclaim deed dated
16     January 24, 2017, that was recorded in Palm Beach County
17     on February 22, 2017.
18                       THE WITNESS:    Did you say 13?
19                       MR. GARNO:    13.
20                       (Thereupon, Exhibit Number 14 was marked for
21     Identification.)
22     BY MR. GARNO:
23               Q.      Exhibit 14 is a second addendum to mortgage
24     and balloon promissory note dated the same date,
25     January 24, 2017.


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 1                       Take a look at Exhibit 14 first, which I
 2     think you're doing.       This is the second addendum to
 3     mortgage and balloon promissory note.
 4               A.      There's another one, but that's fine.          Okay.
 5               Q.      Take a look at the last page of Exhibit 14.
 6               A.      Yeah.
 7               Q.      Is that your signature on behalf of --
 8               A.      Yes.
 9               Q.      -- Oxbridge?
10                       And what was the purpose of Exhibit 14, the
11     second addendum to the mortgage and balloon promissory
12     note?
13               A.      The purpose of this?
14               Q.      Sure.
15               A.      I think it was to add -- to add some money
16     to the balance I think it was.         I don't remember.       I mean,
17     I signed it.
18               Q.      Sure.   It looks like the pay out now is
19     $200,000?
20               A.      Yeah, because he had legal fees out there.
21               Q.      And there's also a reference that there's a
22     default --
23               A.      Yes.
24               Q.      -- and that the maturity date for the
25     balloon payment had been extended to January 31, 2020?


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 1               A.      Yeah.
 2               Q.      And on that same day you -- the same day
 3     that you execute this addendum to the mortgage and balloon
 4     promissory note, you also executed a quitclaim deed for
 5     the property to Halfpay International --
 6               A.      Uh-huh.
 7               Q.      -- which is Exhibit 13; correct?
 8               A.      Yeah.
 9               Q.      And that's your signature that appears --
10               A.      Yeah.
11               Q.      -- on the second page of Exhibit 13?
12                       Why did you quitclaim the property the same
13     day that you modified the note?
14               A.      So he -- that's a good question.         So he said
15     to me that if you sign a quitclaim deed, we're going to
16     put everything -- we're going to freeze everything and
17     then when you're ready to start -- do another one, then,
18     you know, we can do it.
19                       He said, well that will give me some
20     guarantee.      I said, fine.    At this point I was just -- I
21     was just -- I didn't want to do it, because at this time
22     Oxbridge had expired.       He was like you've got to renew
23     Oxbridge.      I said, Jeremy, it's expired.
24               Q.      So at this point in time Oxbridge Medical
25     was an inactive company?


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 1               A.      Oh, yeah, it was inactive.
 2               Q.      It was dissolved by the Secretary of State
 3     of Florida?
 4               A.      Yeah, I never did the annual stuff.
 5               Q.      Was Jeremy supposed to hold this quitclaim
 6     deed until something happened or didn't happen?
 7               A.      He was supposed to hold the quitclaim deed.
 8     I said, Jeremy, I'm going through some stuff right now.
 9     What date was this, January 2017?
10               Q.      Yeah, it's the same date as the -- as the
11     addendum to the mortgage.
12               A.      He was supposed to hold it.        I said, Jeremy,
13     I'm going through stuff right now.          I think it was my
14     divorce had started or some events with my ex-wife at the
15     time.   He said, don't worry about it, it's not going to
16     happen, I'm going to hold onto it.          Yeah, I'm going to
17     hold onto it and when you're ready, you know, we can do
18     some stuff.
19                       I said, Jeremy, I don't agree with the 5,000
20     in legal fees.      It doesn't take $5,000 in legal fees.           He
21     said, yes, my attorney did it.         I spoke to Otto, he said
22     he didn't do it.       At the time I was just --
23               Q.      You agreed to it anyway?
24               A.      -- tired.    I was just tired.      Jeremy, you
25     know, you made promises, you don't keep it.            You make


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 1     promises, you don't keep it.         You make promises, you don't
 2     keep it, and you don't remember the promises you make
 3     because you believe whatever is in your mind today.
 4                       He said, no, I'll hold onto it.         Couple days
 5     later I checked and it was filed.
 6               Q.      It was filed almost a month later.
 7               A.      Yeah.
 8               Q.      Was there -- was there something that you
 9     were supposed to do in that time period between
10     January 24th and February 22nd that you didn't do that
11     caused Jeremy to file the quitclaim deed?
12               A.      I give him a check, I told Jeremy to hold
13     onto the check until my bonus comes in.           My bonus came in
14     January, February, the third -- I think it's March,
15     February or March my bonus came in.           Jeremy, my bonus is
16     coming in at this time, so, you know, I'll give you a
17     check to do this.       I didn't agree with the 5,000, he got
18     mad.   I brought the check to Jeremy.          It shouldn't have
19     been deposited, we talk about it.
20               Q.      And then so ultimately he -- Jeremy did
21     cause to be filed the quitclaim deed in February of 2017?
22               A.      Yeah.
23               Q.      And Halfpay is currently the record owner --
24               A.      Yeah.
25               Q.      -- owner of the property?


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 1                       There's a number of text messages between
 2     January 24th and February 22nd that we have where he again
 3     talks about you scamming him, tricking him.            So in
 4     February, what did he think -- what did he think you were
 5     scamming him or tricking him about?
 6               A.      I -- I really don't know, because this is --
 7     this was the earlier -- he said this earlier.             We went
 8     back to this.      I think Jeremy was trying to sell the
 9     property for -- for his wife -- his wife now wanted to
10     sell the property and I didn't let them in the property,
11     and he got mad or something like that, but it's ---
12               Q.      I'm going to show you what we're going to
13     mark as Exhibit 15.
14                       (Thereupon, Exhibit Number 15 was marked for
15     Identification.)
16                       MR. PERLMAN:    This is Exhibit 15?
17                       THE WITNESS:    It's Exhibit 15.
18     BY MR. GARNO:
19               Q.      Exhibit 15 is a series of ---
20               A.      Okay.   So here's the stuff with PNC
21     complaints.
22               Q.      Yeah, this is -- I mean, I spared you the
23     lead up to this, which is full of a lot of curse words and
24     unpleasant things, but you lived it.
25               A.      He would call me from another number at


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 1     2:00, 3:00 in the morning, it must be his wife's phone and
 2     explicit.
 3               Q.      Yes, the text messages are not child
 4     friendly.
 5               A.      And -- and explicit, and -- yeah.
 6               Q.      So you'll see that, you know, this is now
 7     February -- this is Valentine's Day of 2017, and again,
 8     he's talking about -- well, he's texted you at this time
 9     that you scammed him, do you see that?
10               A.      Yeah.
11               Q.      He thought that you were trying to get away
12     with something and pull something over on him, correct,
13     and he threatened to call your boss and file complaints
14     with PNC?
15               A.      Yeah.
16               Q.      And what -- what complaints, did he ever
17     get -- be specific with you --
18               A.      Yeah.
19               Q.      -- as to what you ---
20               A.      That I didn't pay him his money.
21               Q.      Okay.
22               A.      And that a banker shouldn't be there without
23     paying his money.
24               Q.      And did he -- did he hang that over your
25     head --


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